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 6
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 7

 8
                                   UNITED STATES DISTRICT COURT
 9
                                  NORTHERN DISTRICT OF CALIFORNIA
10

11
     ADRIAN HOLLEY, et al.,                           Case No. 4:18-cv-06972-JST
12
                    Plaintiffs,
13                                                    STIPULATION AND [PROPOSED]
            vs.                                       ORDER RE: DISMISSAL OF CLAIMS OF
14                                                    PLAINTIFF [FAILURE TO PROPERLY
15   GILEAD SCIENCES, INC.,                           VERIFY PLAINTIFF FACT SHEETS]

16                  Defendant.

17   This documents relates to:

18   White, A. et al v. Gilead Sciences, Inc., Case
     No. 4:21-cv-02039-JST.
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         STIPULATION AND [PROPOSED] ORDER RE: DISMISSAL OF CLAIMS OF PLAINTIFF [FAILURE TO
                  PROPERLY VERIFY PLAINTIFF FACT SHEETS] – NO. 4:18-CV-06972-JST
        Case 4:18-cv-06972-JST Document 1442 Filed 12/18/23 Page 2 of 5



1           Plaintiffs and Defendant Gilead Sciences, Inc., (“Gilead”) hereby stipulate and agree as

2    follows:

3           WHEREAS, on September 15, 2023, First Motion to Dismiss Plaintiffs’ Claims for Failure

4    to Properly Verify Plaintiff Fact Sheets (“PFSs”) (ECF Nos. 1385; hereinafter “Motion to

5    Dismiss”), seeking the dismissal of the claims of Plaintiffs listed on Exhibit A to the Declarations

6    of Jeremiah Wikler that accompanied the Motion (ECF No. 1385-2).

7           WHEREAS, on October 20, 2023, Plaintiffs filed their response to Gilead’s Motion to

8    Dismiss (ECF No. 1407).

9           WHEREAS, on November 15, 2023, the Parties filed a Stipulation and Proposed Order

10   Resolving the Motion to Dismiss (ECF No. 1425), which was adopted by the Court on the same

11   day (ECF No. 1426, hereinafter “Stipulated Order”);

12          WHEREAS, under the Stipulated Order, Plaintiff Michael Place (LMI No. 960390) was to

13   “properly verify his PFS no later than December 15, 2023, or be dismissed without prejudice.”

14   ECF No. 1426, ¶ 9.

15          WHEREAS, Plaintiff Place failed properly verify his PFS by December 15, 2023, as

16   required by the Stipulated Order.

17          WHEREAS, THE PARTIES AGREE AND STIPULATE that Plaintiff Place shall be

18   DISMISSED without prejudice.

19   DATED: December 18, 2023                             By: ______/s/___________
                                                          Jeremiah Wikler (pro hac vice)
20                                                        jwikler@shb.com
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        STIPULATION AND [PROPOSED] ORDER RE: DISMISSAL OF CLAIMS OF PLAINTIFF [FAILURE TO
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        Case 4:18-cv-06972-JST Document 1442 Filed 12/18/23 Page 3 of 5



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     DATED: December 18, 2023                      By: ________/s/
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17                                              Attorneys for Plaintiff

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        STIPULATION AND [PROPOSED] ORDER RE: DISMISSAL OF CLAIMS OF PLAINTIFF [FAILURE TO
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1                                            ATTESTATION

2    I, Jeremiah S. Wikler, am the ECF user whose identification and password are being used to file the
     foregoing document. In compliance with Civil L.R. 5-1(i)(3), I hereby attest that concurrence in the
3    filing of this document has been obtained from each of the other signatories.

4    \

5
     DATED: December 18, 2023                            By: ______/s/___________
6                                                        Jeremiah Wikler (pro hac vice)
                                                         Attorney for Defendant Gilead Sciences, Inc.
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         STIPULATION AND [PROPOSED] ORDER RE: DISMISSAL OF CLAIMS OF PLAINTIFF [FAILURE TO
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        Case 4:18-cv-06972-JST Document 1442 Filed 12/18/23 Page 5 of 5



1                                        [PROPOSED] ORDER

2           Pursuant to the foregoing Stipulation of the Parties, and good cause appearing, it is hereby

3    ORDERED that the above-captioned action is dismissed without prejudice, under Federal Rules of

4    Civil Procedure 37(b)(2)(A)(v) and 41(b), as to Plaintiff Michael Place (LMI No. 960390) only.

5           IT IS SO ORDERED.

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     Dated: ___________________
8                                                              Honorable Jon S. Tigar

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